        Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 1 of 10



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

DOUGLAS STANLEY and                           )
DEBORAH STANLEY                               )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )       Case No. 1-11-CV-083 BSM
                                              )
CHARLES CAPPS MINISTRIES, INC.;               )
DIAMOND BLUFF ESTATES, LLC;                   )
CHARLES CAPPS and PEGGY CAPPS,                )
INDIVIDUALLY and AS HUSBAND                   )
AND WIFE; and ANNETTE CAPPS,                  )
INDIVIDUALLY                                  )
                                              )
       Defendants.                            )       JURY TRIAL DEMANDED

                        ANSWER TO FIRST AMENDED COMPLAINT

       COME NOW, Defendant Diamond Bluff Estates, LLC and Defendant Annette Capps, by

and through their attorneys of record Mark Spradley and Michael James King and S. Greg

Pittman, and for their Answer to Plaintiffs’ First Amended Complaint state and allege as follows:

       1.        Defendants are without sufficient information to admit or deny the allegations in

paragraph 1 of the First Amended Complaint and therefore deny the same and demand strict

proof thereof.

       2.        Defendants are without sufficient information to admit or deny the allegations

contained in paragraph 2 of the First Amended Complaint and therefore deny the same and

demand strict proof thereof.

       3.        Defendants admit that Defendant Annette Capps is a resident of the State of

Oklahoma and that she owns property in the State of Arkansas. Defendants deny the remaining




                                                  1
           Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 2 of 10



allegations contained in paragraph 3 of the First Amended Complaint and demand strict proof

thereof.

       4.      Defendants deny the allegations contained in paragraph 4 of the First Amended

Complaint and demand strict proof thereof.

       5.      Defendants admit the allegations contained in paragraph 5 of the First Amended

Complaint.

       6.      Defendants deny the allegations contained in paragraph 6 of the First Amended

Complaint and demand strict proof thereof.

       7.      Defendants deny the allegations contained in paragraph 7 of the First Amended

Complaint and demand strict proof thereof.

       8.      Defendants deny the allegations contained in paragraph 8 of the First Amended

Complaint and demand strict proof thereof.

       9.      Defendants deny the allegations contained in paragraph 9 of the First Amended

Complaint and demand strict proof thereof.

       10.     Defendants deny the allegations contained in paragraph 10 of the First Amended

Complaint and demand strict proof thereof.

       11.     Defendants deny the allegations contained in paragraph 11 of the First Amended

Complaint and demand strict proof thereof.

       12.     Defendants deny the allegations contained in paragraph 12 of the First Amended

Complaint and demand strict proof thereof.

       13.     No response is required for the allegations contained in paragraph 13 of the First

Amended Complaint.




                                               2
        Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 3 of 10



       14.       Defendants deny the allegations contained in paragraph 14 of the First Amended

Complaint and demand strict proof thereof.

       15.       Defendants deny the allegations contained in paragraph 15 of the First Amended

Complaint and demand strict proof thereof.

       16.       Defendants are without sufficient information to admit or deny the allegations in

paragraph 16 of the First Amended Complaint and therefore deny the same and demand strict

proof thereof.

       17.       Defendants are without sufficient information to admit or deny the allegations in

paragraph 17 of the First Amended Complaint and therefore deny the same and demand strict

proof thereof.

       18.       Defendants deny the allegations contained in paragraph 18 of the First Amended

Complaint and demand strict proof thereof.

       19.       Defendants deny the allegations contained in paragraph 19 of the First Amended

Complaint and demand strict proof thereof.

       20.       Defendants deny the allegations contained in paragraph 20 of the First Amended

Complaint and demand strict proof thereof.

       21.       Defendants are without sufficient information to admit or deny the allegations in

paragraph 21 of the First Amended Complaint and therefore deny the same and demand strict

proof thereof.

       22.       Defendants are without sufficient information to admit or deny the allegations in

paragraph 22 of the First Amended Complaint and therefore deny the same and demand strict

proof thereof.




                                                 3
        Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 4 of 10



       23.    Defendants deny the allegations contained in paragraph 23 of the First Amended

Complaint and demand strict proof thereof.

       24.    Defendants deny the allegations contained in paragraph 24 of the First Amended

Complaint and demand strict proof thereof.

       25.    Defendants deny the allegations contained in paragraph 25 of the First Amended

Complaint and demand strict proof thereof.

       26.    Defendants deny the allegations contained in paragraph 26 of the First Amended

Complaint and demand strict proof thereof.

       27.    Defendants deny the allegations contained in paragraph 27 of the First Amended

Complaint and demand strict proof thereof.

       28.    Defendants deny the allegations contained in paragraph 28 of the First Amended

Complaint and demand strict proof thereof.

       29.    Defendants deny the allegations contained in paragraph 29 of the First Amended

Complaint and demand strict proof thereof.

       30.    Defendants deny the allegations contained in paragraph 30 of the First Amended

Complaint and demand strict proof thereof.

       31.    No response is required for the allegations contained in paragraph 31 of the First

Amended Complaint.

       32.    Defendants deny the allegations contained in paragraph 32 of the First Amended

Complaint and demand strict proof thereof.

       33.    Defendants deny the allegations contained in paragraph 33 of the First Amended

Complaint and demand strict proof thereof.




                                              4
        Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 5 of 10



       34.    Defendants deny the allegations contained in paragraph 34 of the First Amended

Complaint and demand strict proof thereof.

       35.    Defendants deny the allegations contained in paragraph 35 of the First Amended

Complaint and demand strict proof thereof.

       36.    Defendants deny the allegations contained in paragraph 36 of the First Amended

Complaint and demand strict proof thereof.

       37.    Defendants deny the allegations contained in paragraph 37 of the First Amended

Complaint and demand strict proof thereof.

       38.    Defendants deny the allegations contained in paragraph 38 of the First Amended

Complaint and demand strict proof thereof.

       39.    Defendants deny the allegations contained in paragraph 39 of the First Amended

Complaint and demand strict proof thereof.

       40.    Defendants deny the allegations contained in paragraph 40 of the First Amended

Complaint and demand strict proof thereof.

       41.    No response is required for the allegations contained in paragraph 41 of the First

Amended Complaint.

       42.    Defendants deny the allegations contained in paragraph 42 of the First Amended

Complaint and demand strict proof thereof.

       43.    Defendants deny the allegations contained in paragraph 43 of the First Amended

Complaint and demand strict proof thereof.

       44.    Defendants deny the allegations contained in paragraph 44 of the First Amended

Complaint and demand strict proof thereof.




                                              5
        Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 6 of 10



       45.    Defendants deny the allegations contained in paragraph 45 of the First Amended

Complaint and demand strict proof thereof.

       46.    Defendants deny the allegations contained in paragraph 46 of the First Amended

Complaint and demand strict proof thereof.

       47.    Defendants deny the allegations contained in paragraph 47 of the First Amended

Complaint and demand strict proof thereof.

       48.    Defendants deny the allegations contained in paragraph 48 of the First Amended

Complaint and demand strict proof thereof.

       49.    Defendants deny the allegations contained in paragraph 49 of the First Amended

Complaint and demand strict proof thereof.

       50.    Defendants deny the allegations contained in paragraph 50 of the First Amended

Complaint and demand strict proof thereof.

       51.    No response is required for the allegations contained in paragraph 51 of the First

Amended Complaint.

       52.    Defendants deny the allegations contained in paragraph 52 of the First Amended

Complaint and demand strict proof thereof.

       53.    Defendants deny the allegations contained in paragraph 53 of the First Amended

Complaint and demand strict proof thereof.

       54.    Defendants deny the allegations contained in paragraph 54 of the First Amended

Complaint and demand strict proof thereof.

       55.    Defendants deny the allegations contained in paragraph 55 of the First Amended

Complaint and demand strict proof thereof.




                                              6
        Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 7 of 10



       56.       Defendants deny the allegations contained in paragraph 56 of the First Amended

Complaint and demand strict proof thereof.

       57.       Defendants deny the allegations contained in paragraph 57 of the First Amended

Complaint and demand strict proof thereof.

       58.       Defendants deny the allegations contained in paragraph 58 of the First Amended

Complaint and demand strict proof thereof.

       59.       Defendants deny the allegations contained in paragraph 59 of the First Amended

Complaint and demand strict proof thereof.

       60.       Defendants deny the allegations contained in paragraph 60 of the First Amended

Complaint and demand strict proof thereof.

                               FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred in whole, or in part, by the equitable doctrines of estoppel,

waiver, unclean hands, and/or laches.

                              SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred in whole, or in part, by the equitable doctrines of setoff,

release, payment, negligence, comparative fault, accord and satisfaction, and failure of

consideration.

                               THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred in whole, or in part, because Plaintiffs failed to state a claim

upon which relief can be granted.

                              FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred in whole, or in part, by intervening acts of third parties and

acts of God and/or nature.



                                                 7
         Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 8 of 10



                                FIFTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred in whole, or in part, because Defendants’ alleged acts were

reasonable and in good faith, and in pursuit of a lawful business purposes.

                                SIXTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred in whole, or in part, because Plaintiffs failed to mitigate their

damages.

                              SEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred in whole, or in part, by the applicable statute of limitations

and statute of repose.

                               EIGHTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred in whole, or in part, because these Defendants are not subject

to the Land Sales Full Disclosure Act, 15 U.S.C. § 1701 et seq. (the “Act”). In the alternative,

these Defendants have not made any untrue statements of material facts or omitted to state

material facts that were required to be disclosed and have not violated the provisions of the Act.

                                NINTH AFFIRMATIVE DEFENSE

        Defendants affirmatively plead and incorporate by reference herein any and all defenses

and exemptions contained within the Act.

                               TENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred in whole, or in part, because these Defendants are not the

real party in interest.




                                                  8
         Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 9 of 10



                            ELEVENTH AFFIRMATIVE DEFENSE

       Defendants hereby reserve the right to supplement their Answer to Plaintiffs’ First

Amended Complaint with additional defenses that become available or apparent during the

course of investigation, preparation, or discovery and to amend their Answer accordingly.

       WHEREFORE, having answered, Defendants pray this Court deny all relief requested in

Plaintiffs’ First Amended Complaint, enter judgment on behalf of Defendants, and for all other

further relief as this Court deems just and proper, including reasonable attorneys’ fees and costs.


                                              Respectfully submitted,

                                              s/ S. Greg Pittman
                                              Michael James King, OBA #5036
                                              S. Greg Pittman, OBA #18450
                                              WINTERS & KING, INC.
                                              2448 East 81st Street, Suite 5900
                                              Tulsa, Oklahoma 74137-4259
                                              (918) 494-6868 Telephone
                                              (918) 491-6297 Facsimile
                                              mking@wintersking.com
                                              gpittman@wintersking.com

                                              AND

                                              J. Mark Spradley, ABA#70066
                                              Attorney at Law
                                              8114 Cantrell, Suite 240
                                              Little Rock, Arkansas 72227
                                              (501) 537-4290 Telephone
                                              (501) 219-6895 Facsimile
                                              jmspradley@sbcglobal.net

                                              ATTORNEYS FOR DEFENDANTS
                                              DIAMOND BLUFF ESTATES, LLC and
                                              ANNETTE CAPPS




                                                 9
       Case 1:11-cv-00083-BSM Document 57 Filed 07/13/12 Page 10 of 10



                              CERTIFICATE OF SERVICE

       I, the undersigned attorney, hereby certify that on July 13, 2012, I electronically
transmitted the foregoing document to the Clerk of Court using the CM/ECF System, which will
send a notice of electronic filing to all parties receiving electronic notice.


                                          s/ S. Greg Pittman
                                          S. Greg Pittman




                                            10
